                                                      FECEfV
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                                                        SEP O8 2020
       /¥-· JCS/I/I/ J!At.to ·                                                          3'o/J?O
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    Fet.,T /7 A/.£ 'Cc" "~A ~~ /P 5€7 : ~ ~-c a~(/)- ~ ~(6 f&r - -
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      ~u, To te'./4.fe>Cv_ 7?f€ ° FA ~ J!;' E~ .f :t~    - MA ~ c_fc,u! l_ _

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                 Cd.'/?7 7 6ct /e'~ t CHr CL:$ " /VA ~>G A MJ~ ~Ho f{TA/~ ~ ~ -
                  ~,,q ~t: r'- TH 4T /1, f~E_/T VE Af'.,Pc ~fia .K.r To
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                 ~~A7 c/'. , /ff// Z: el.Pt!?'...A/.f./4../.. .T C A M ~ C L ~ 7ol!
                                                                        C._E 1_7$ s -K«/ .A,G --
                  ~'t? ~~CS-A J§_ Gd a... _j?-C>ft M) _A/L l_~( AAJ
             -    t  ~Z~H T&« ~ fli. J 7/;1 , #P1 ;::J~ r                        #
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                   N"li_QSfl/;,_ f/,11 ) ?£; ,l_~ ~e: ,7 h'o c-? ~~ P£ e ~f
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                      .I ~~e         #';ttf f4P ~ d- /l~ Mr A-rEJC.K.,.· ve ~ ~~ r~
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                                                                                  . Ctf..//JJ? _
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                      Wt::t:>~~e> -~         A~~ .A.J d ATJ&A -c.- 6~. ,,er Mof l.&. J.u- 6 __
                      MP rAtf<'Cc> ~ Z-e A-t/ 7~/l TU. Jl~s ~ ,1:J t< t? D:?£ #'~-
                       fJA.J F :$f'-"t'/?72:>~~... ~e! 'F /1. Af~ A'- Fe>~ .fi f~ ~~ "°-
                          7/l"E 62" '"K ~f~ ~u/ €K F~ JJC :4S L_1 ~c l<            /l5_WE~ <.

                      -   uJ~ _Ac .LJ- ~rs_ Al.?>./ -~& ~c. 15R J-'o a /C,VE"_'-e.J'tr-fAT u:- _
                      YC)_g /J,(eµll_c:>,v5~                     JJ;~.J?a? J: ~r V°C)c.{ _
                                                        ~fta ,.,S"    ~
                          IAft ?U? ~_ ,/l'd VE J~A -J ;2>7 ..G" LJ~ M- ll ..lZ. Kt. /€0
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                          /v'C>C,Ld ~ ,/? P,t t'R ~~ ~- c.c>v_f!>-1 Cf" 7/-I E .lfE;'
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            Jhitt: - ~#->t7~~ Af ~? Ftf>__s_t_ ~~ P~~r
           A T;
              '_)( L ~ ~- ~LftLA/<2 ArL ~(t){IlQ»(vVG-_ ~
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         _E_t/c;~ pa'/Vb PA:Cl<_T            «_£B..E' ~ I /?J6a_;6_GO _l_T
         td&~~ _Ac5_6_A.SY-, _ ~ - /?E_.5,rc,ft I/V _11-fE_~
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1-----~--'Le-~ ~           G:..-vA_Glfl~ ~         .A- ~    c~~LY ~           ALC_Af~
~ - _topG,l!_/1£,uC,~ rHFL-~A~#__~F Pt::>YtTTU~ ~€5                                    ~- ~'
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~ -~-'4~ L:LZ#dL I Tff/AlK__lr-:;. _ l?E~E_ UP£/)-1b _F~
_______ _b1e_L&:7-?€~'-'r1c::,....v 72> c ~ ~ C : > _o~-7~
--~M--=--
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               /T>-.. VcAr- CYJ'E_ ,5-[flJ€1l)__;f)µ/)_rJ:t.if_ D f l ~-
~· _ _ __..-c_.,
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- - _Pf J7fd'cJ~ ltJ_C€_ t2~_Tfi_t:.:l'T1i ,_f)..//?z_ La'"e£ &»~ ~
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i - - - -_ _                                                    .r_ A/!t__ - -
~ - ~JP--b To eJD _LS 5_€.i_Uc_A~ Z7.,M€ ~ , T~
                 ;._'~l:E _?Z> lf/o_/TL,AJ ~ ~uit_oAY~_,ur _
f-------=/,,:.: ./.                                        n«~ r __
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...______yPq,t     jlc;~~I? ;'~           fo__//4/a~I      f:GAfi   I;~~~=----
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,__   __ LL     Z7t2,_£__;;p~ ~ u t_/_r //L'f__tA£ A Sc£dv_✓.J:tcA-»r_
- - - - _f~tll f Fe>~ JU l:J.£e_t1~£__ A.~4i",,u??~_fi1 y_ ~         -
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 ___7#47-_f ~CYV/ ~ ,Tl::) //_d,{/JE" 72::> ~ 17-fft.Ll _
            AGt'tl» . I I-IAuE It hVLNC.JA/Utt. JLra!d:r .A/~S
1-----...:;_/)IJE ~1/£)_DAL7- (}€~ue A PedTtf_ ~&_~~CE~ _
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         _I _t)µ Ce ,dG tAI » ?'# AA !K <r'ov
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